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                                       Case No. 21-3041

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                            ORDER



In re: NATIONAL PRESCRIPTION OPIATE LITIGATION
___________________________________________

In re: ENDO HEALTH SOLUTIONS, INC.; ENDO PHARMACEUTICALS, INC.; PAR
PHARMACAUTICAL, INC; PAR PHARMACEUTICALS COMPANIES, INC; TEVA
PHARMACEUTICALS, USA, INC.; CEPHALON, INC.; WATSON LABORATORIES, INC.;
ACTAVIS LLC; ACTAVIS PHARMA, INC. fka WATSON PHARMA, INC.

             Petitioners



   Upon consideration of the petitioners’ motion to voluntarily dismiss the appeal herein

pursuant to Rule 42(b), Federal Rules of Appellate Procedure,

   It is ORDERED that the motion is GRANTED and the appeal is dismissed.

                                                ENTERED BY ORDER OF THE COURT
                                                Deborah S. Hunt, Clerk


Issued: January 28, 2021
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